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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

Mohammed K.,                                       Case No. 20-CV-1964 (JRT/BRT)

                     Petitioner,

v.                                                            ORDER

Immigration and Customs Enforcement
and United States Attorney General,

                     Respondents.



     IT IS HEREBY ORDERED THAT:

          1.    Respondents are directed to file an answer to the petition for a writ

                of habeas corpus of Petitioner Mohammed K., within 20 days of this

                Order’s date, certifying the true cause and proper duration of

                Petitioner’s confinement and showing cause why the Court should

                not grant the writ in this case.

          2.    Respondents’ answer should include:

                a.       Such affidavits and exhibits as are needed to establish the
                         lawfulness and correct duration of Petitioner’s incarceration,
                         in light of the issues raised in the petition;

                b.       A reasoned memorandum of law and fact fully stating
                         Respondents’ legal position on Petitioner’s claims; and

                c.       Respondents’ recommendation on whether an evidentiary
                         hearing should be conducted in this matter.
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          3.    If Petitioner intends to file a reply to Respondents’ answer, he must

                do so within 20 days of the date when the answer is filed.

                Thereafter, no further submissions from either party will be

                permitted, except as authorized by Court order.

          4.    Petitioner’s Certificate of Indigence, ECF No. 2—which the Court

                construes as an application to proceed in forma pauperis—is

                GRANTED.




Dated: September 18, 2020                   s/ Becky R. Thorson
                                            BECKY R. THORSON
                                            United States Magistrate Judge




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